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Counsel/Parties of Record

UNITED STATES DISTRICT COURT MAR 2 8 2025
DISTRICT OF NEVADA Clerk US District Court

District of Nevada
DREW J. RIBAR, ey: Deputy
Plaintiff, .
Vv.

STATE OF NEVADA ex rel. NEVADA DEPARTMENT OF CORRECTIONS; CARSON
CITY; SHERIFF KENNETH FURLONG, in his official and individual capacities;
DEPUTY JASON BUENO, in his official and individual capacities; DEPUTY SEAN
PALAMAR, in his individual capacity; SGT. ROBERT SMITH, in his individual capacity;
SGT. FERNANDEIS FRAZIER, in his individual capacity; SGT. TJ BOGGAN, in his
official and individual capacities; DISTRICT ATTORNEY JASON WOODBURY, in his
official capacity; and DOES 1-10,

Defendants.

Case No. 3:24-cv-00103-ART-CLB

PLAINTIFF’S MOTION FOR LEAVE TO FILE FIRST AMENDED COMPLAINT

[Per Court’s February 27, 2025 Order]

Plaintiff, DREW J. RIBAR, appearing pro se, respectfully moves this Court for leave to file the
attached First Amended Complaint pursuant to Federal Rule of Civil Procedure 15(a)(2) and

the Court’s February 27, 2025 Order Regarding Removal and Leave to Amend.

In support of this Motion, Plaintiff states as follows:

1. On February 27, 2025, the Court entered an Order granting Plaintiff leave to file an
amended complaint. (ECF No. _, “Order Regarding Removal and Leave to Amend.”)

2. The Court expressly provided Plaintiff the opportunity to “file an amended complaint to
clarify his claims,” recognizing that the original pleading was filed in state court and did

not necessarily comply with federal pleading standards.

PLEADING TITLE - |

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I 3. Plaintiff has now prepared a comprehensive First Amended Complaint that complies

2 with Federal Rule of Civil Procedure 8(a) and applicable precedent, including Ashcroft
v. Iqbal, 556 U.S. 662 (2009), and Monell v. Department of Social Services, 436 U.S. 658
5 (1978).
6 4. The proposed First Amended Complaint:
7 o Clarifies the factual allegations and legal bases for all claims;
8 o Adds factual detail supported by properly authenticated exhibits (A through P);
: o Cures any deficiencies in the original complaint filed in state court;
I o Reflects new incidents (e.g., March 20, 2025 incident involving Sgt. Boggan) that
12 occurred after the original filing;
13 o And properly identifies all named defendants and relevant constitutional and
"4 statutory bases for relief.
. 5. Plaintiff respectfully submits that this amendment is filed in good faith, without undue
"7 delay, and at this early stage of litigation will not prejudice Defendants.
18 6. Pursuant to Local Rule 15-1(a), a complete copy of the proposed First Amended
19 Complaint is attached hereto as Exhibit |.
20

2, || WHEREFORE, Plaintiff respectfully requests that the Court enter an order:

22

33 e Granting this Motion for Leave to File First Amended Complaint;

24 e Directing the Clerk of Court to file the attached proposed First Amended Complaint on
25 the docket;

*6 e And granting such other and further relief as this Court deems just and proper.

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PLEADING TITLE - 2

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! || Dated: March 28, 2025

Respectfully submitted,

4 |\/s/ Drew J. Ribar

Drew J. Ribar

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Washoe Valley, NV 89704
9 || Tel: (775) 223-7899

10 |) Email: Const2Audit@gmail.com

Plaintiff, Pro Se

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